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5    Attorneys for Defendant
     JOSEPH LATU
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  Case No.: 2:15-CR-00209 GEB
12              Plaintiff,                      STIPULATION AND [PROPOSED]
                                                ORDER CONTINUING SENTENCING
13        vs.                                   HEARING AND SETTING NEW PSR
                                                SCHEDULE
14   JOSPEH LATU, et al.
                                                Date: August 11, 2017
15              Defendant.                      Time: 9:00 a.m.
                                                Judge: Garland E. Burrell,
16                                              Jr.
17        The United States of America, through its counsel Assistant
18   U. S. Attorney Justin Lee, and defendant Joseph Latu, through
19   his counsel Clyde M. Blackmon, stipulate that Mr. Latu’s
20   sentencing hearing currently scheduled for 9:00 a.m. on August
21   11, 2017, may be continued to September 8, 2017.          The sentencing
22   hearing needs to be continued because the current Presentence
23   Investigation Report (“PSR”) schedule overlaps with a prepaid
24   vacation which Mr. Latu’s counsel has scheduled for the latter
25   part of July.    Therefore the parties have agreed that the
26   sentencing hearing may be continued to September 8, 2017, and a
27   new PSR schedule established as follows:
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      STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING HEARING AND SETTING
                                   NEW PSR SCHEDULE
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1         Proposed PSR to be disclosed to counsel:         July 28, 2017
2         Counsel’s objections to PSR to be delivered to Probation
3          officer and opposing counsel: August 11, 2017
4         PSR to be filed with Court:          August 18, 2017
5         Counsel’s motion to correct PSR to be filed: August 25,
6          2017
7         Counsel’s reply or of non-opposition to be filed with the
8          Court and served on opposing counsel:          September 1, 2017
9          IT IS SO STIPULATED.
10   DATED:       June 23, 2017         By: //s// Clyde M. Blackmon for
                                                  Justin Lee,
11                                                Assistant U.S. Attorney
12
13   DATED:       June 23, 2017         By: _//s// Clyde M. Blackmon___
                                                CLYDE M. BLACKMON
14                                              Attorney for Defendant
                                                Joseph Latu
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      STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING HEARING AND SETTING
                                   NEW PSR SCHEDULE
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1                                       ORDER
2          Based on the stipulation of the parties, it is hereby
3    ordered that the sentencing hearing currently scheduled for 9:00
4    a.m. on August 11, 2017, is continued to 9:00 a.m. on September
5    8, 2017.     It is further ordered that the PSR schedule is amended
6    as follows:
7         Proposed PSR to be disclosed to counsel:         July 28, 2017
8         Counsel’s objections to PSR to be delivered to Probation
9          officer and opposing counsel: August 11, 2017
10        PSR to be filed with Court:          August 18, 2017
11        Counsel’s motion to correct PSR to be filed: August 25,
12         2017
13        Counsel’s reply or of non-opposition to be filed with the
14         Court and served on opposing counsel:          September 1, 2017
15   Dated:   June 27, 2017
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      STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING HEARING AND SETTING
                                   NEW PSR SCHEDULE
